                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


SCOTT AND RHONDA BURNETT, RYAN )
HENDRICKSON, JEROD BRIET, SCOTT                          )
TRUPIANO, JEREMY KEEL, HOLLEE ELLIS,                     )
and FRANCES HARVEY, on behalf of themselves              )
and all others similarly situated,                       )
                                                         )
                Plaintiffs                               )
                                                         )
        v.                                               )       Case No. 19-CV-00332-SRB
                                                         )
THE NATIONAL ASSOCIATION OF                              )
REALTORS, REALOGY HOLDINGS CORP.,                        )
HOMESERVICES OF AMERICAN, INC., BHH                      )
AFFILIATES, LLC, HSF AFFILIATES, LLC,                    )
RE/MAX LLC, and KELLER WILLIAMS                          )
REALTY, INC.,                                            )
                                                         )
                Defendants.                              )


                NOTICE OF PENDING SETTLEMENT AND JOINT MOTION
                   TO STAY CASE AS TO DEFENDANT RE/MAX, LLC

        Scott and Rhonda Burnett, Ryan Hendrickson, Jerod Breit, Scott Trupiano, Jeremy Keel,

Hollee Ellis, and Frances Harvey (collectively “Plaintiffs”) and RE/MAX, LLC (“RE/MAX” and,

together with Plaintiffs, the “Parties”) respectfully write to the Court to provide notice that Plaintiffs

have reached an agreement with RE/MAX to settle all claims asserted against RE/MAX in this action

as part of a proposed nationwide class settlement. This settlement was jointly negotiated with the

Plaintiffs in Moehrl v. The National Association of Realtors, et al., Case No. 1:19-CV-01610. The

settlement encompasses both classes. This agreement is subject to the Court’s approval under Federal

Rule of Civil Procedure 23. Consistent with the Parties’ agreement, Plaintiffs will file a motion in this

Court for preliminary approval of the proposed settlement.

        As provided by the agreement, Plaintiffs and RE/MAX hereby jointly stipulate and request that

the Court stay all deadlines and proceedings solely as to RE/MAX to preserve the resources of



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Plaintiffs, RE/MAX, and the Court and to allow the Parties to formalize the settlement agreement and

to seek preliminary and final approval of the settlement.

Dated: September 18, 2023                              Respectfully submitted by:

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of September 2023, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which will send a notice of
electronic filing to counsel of record for this case.

                                                        /s/ Michael S. Ketchmark
                                                        Attorney for Plaintiffs




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